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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                                             CASE No C 4:21-cv-07165-HSG
Deborah Odell,

                                 Plaintiff(s)
                                                             STIPULATION AND ORDER
 v.
                                                             SELECTING ADR PROCESS
Experian Information Solutions, Inc.,
                                 Defendant(s)

Counsel report that they have met and conferred regarding ADR and have reached the following
stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5. The parties agree to participate in the
following ADR process:
    Early Neutral Evaluation (ENE) (ADR L.R. 5)

    Mediation (ADR L.R. 6)
    Early Settlement Conference with a Magistrate Judge (ADR L.R. 7)

    Private ADR (specify process and provider)


The parties agree to hold the ADR session by:
    the presumptive deadline (90 days from the date of the order referring the case to ADR)

   other requested deadline: July 15, 2022
  
 Date: 5/26/2022                                             SEE ATTACHED SIGNATURES
                                                             Attorney for Plaintiff
 Date:5/26/2022                                              SEE ATTACHED SIGNATURES
                                                             Attorney for Defendant

  IT IS SO ORDERED.
 
  IT IS SO ORDERED WITH THE FOLLOWING MODIFICATIONS:


 DATE: 5/31/2022
                                                             U.S. DISTRICT JUDGE



 Important! E-file this form in ECF using the appropriate event among these choices: “Stipulation & Proposed Order
 Selecting Mediation” or “Stipulation & Proposed Order Selecting ENE” or “Stipulation & Proposed Order Selecting Early
 Settlement Conference with a Magistrate Judge” or “Stipulation & Proposed Order Selecting Private ADR.”
 Form ADR-Stip rev. 1-15-2019
